        Case 1:17-cr-10092-NMG Document 191 Filed 05/07/18 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

             DEFENDANT GARY P. DECICCO’S MOTION IN LIMINE TO
                EXCLUDE REFERENCES TO PRIOR CONVICTIONS

       In response to the government’s January 9, 2018 Rule 404(b) notice and pursuant to Fed.

R. Evid. 403, 404, and 609(b), Defendant Gary P. DeCicco respectfully moves in limine to

request that this Court preclude the government from introducing evidence at trial concerning

Mr. DeCicco’s prior criminal record, including his prior convictions for mail fraud in 2004. The

prejudice to Mr. DeCicco from admitting his prior convictions substantially outweighs its virtual

absence of probative value, and the government cannot show any special relevance or proper

purpose for introducing such evidence in this case.

                                        CONCLUSION

       For the reasons set forth in the accompanying Memorandum in Support, Mr. DeCicco

requests that the Court grant this motion in limine to exclude evidence of Mr. DeCicco’s prior

criminal record.

                                REQUEST FOR ORAL ARGUMENT

       Mr. DeCicco requests that the Court hear oral argument on this motion.
         Case 1:17-cr-10092-NMG Document 191 Filed 05/07/18 Page 2 of 2



                                                     Respectfully submitted,

                                                     GARY P. DECICCO

                                                     By his attorneys,

                                                      /s/ Thomas C. Frongillo
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I certify that I conferred in good faith with counsel for
the United States, Assistant United States Attorney Kristina Barclay, to resolve or narrow the
issues presented by this motion, and that the disputed issues remain unresolved.

                                                       /s/ Caroline K. Simons
                                                       Caroline K. Simons

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was filed on May 7, 2018 through
the CM/ECF system and will be served electronically to registered CM/ECF participants as
identified on the Notice of Electronic Filing.

                                                       /s/ Thomas C. Frongillo
                                                       Thomas C. Frongillo



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